Upon an appeal to the superior court from any final award or other final decision of the Industrial Board, the findings of fact made by the board within its powers are, in the absence of fraud, conclusive if they are supported by any competent evidence. Code, § 114-710; MarylandCasualty Co. v. England, 160 Ga. 810, 812 (129 S.E. 75);Ga. Power c. Co. v. Patterson, 46 Ga. App. 7, 8
(166 S.E. 255), and citations. Furthermore, it is well settled that in a compensation case, the hearing director has the opportunity and the right to consider the witnesses' manner of testifying, their intelligence, their means and opportunity for knowing the facts to which they testified, the nature of such *Page 517 
facts, and the probability or improbability of their testimony, their interest or want of interest, and also their personal credibility so far as the same may legitimately appear from the trial. And it is obvious that, when the case is appealed to the superior court, the judge of that court has no such opportunity or right.
Moreover, when the award is against the claimant, the judge of the superior court, as well as this court, in reviewing the award must accept the evidence most favorable to the defendant. GlensFalls Indemnity Co. v. Sockwell, 58 Ga. App. 111, 114
(supra); Merry Bros. Brick Co. v. Holmes, 57 Ga. App. 281
(supra). Furthermore, "Under the provisions of the Workmen's Compensation Act, the judge of the superior court, upon appeal, has not that discretion to set aside an order or decree of the Industrial Commission which he exercises in passing upon motions for new trial and petitions for certiorari in cases where the evidence would authorize a finding or judgment for either party."United States c. Co. v. Hall, 34 Ga. App. 307 (4) (129 S.E. 305), and citations. In the case just cited, where the judge of the superior court set aside the award and ordered a new trial (just as the judge did in the instant case), this court, in reversing that judgment, said: "The findings of fact made by the commission, if supported by any evidence, will in the absence of fraud be conclusive."
In my opinion the findings of fact made by the hearing director were authorized by some evidence; and, there being no question of fraud in the case, the judge of the superior court erred in setting aside the award and ordering a new trial.